           Case 12-00662-LA7                           Filed 01/20/12                     Entered 01/20/12 11:50:19                                Doc 1             Pg. 1 of 41
                                        United States Bankruptcy Court
                                        Southern District of California
                                                                                                                                                  Voluntary Petition
N am e of D ebtor: (if individual, enter Last, First, M iddle):

             Ernestine B. Juhan

A ll O ther N am es used by the D ebtor in the last 8 years.:
             Ernestine Benitez

Last four dig its of Soc. Sec / C om plete E IN or other Tax I.D . N o.

             1658

Street A ddress of D ebtor (N o & Street, C ity, and State)

             581 Rush Drive

             San Marcos, CA                                                      92078

C ounty of R esidence or the P rincipal P lace of Business.

             San Diego

M ailing A ddress of D ebtor (If different from street A ddress):




Location of P rincipal Assets of Business D ebtor (If different from street address above)



                  Type of Debtor                                                  Nature of Business                               Chapter of Bankruptcy Code Under Which
               (Check one box)                                                     (Check one box)                                   the Petition is Filed (Check one box)
       Individual(s) Including Joint D ebtors                                   H ealth C are Business                               C hapter 7                 C hapter 15
       see exhibit D on pag e 2 of this form                                    Sing le A sset R eal E state as                      C hapter 9                 R ecog nition of a Foreig n
       C orporation LLC and LLP                                                 defined in 11U SC §101 (5/B)                         C hapter 11                M ain Proceeding
       P artnership                                                             R ailroad                                            C hapter 12                C hapter 15
       O ther (If debtor is not one of the above entities,                      Stockbroker                                          C hapter 13                R ecog nition of a Foreign
       check this box and state type of entity below :)                         C om m odity Broker                                                             N onm ain P roceeding
                                                                                C learing Bank
                                                                                O ther


                   Chapter 15 Debtors                                                Tax-Exempt Entity                                   Nature of Debts (Check one box)
C ounty of D ebtor's center of m ain interests                                (C heck Box, if applicable)                            D ebtors are prim arily consum er             D ebts are
                                                                                D ebtor is a tax-exem pt org anization               debts as defined in 11 U .S. C .           prim arily
E ach country in w hich a foreign proceeding by, reg arding,               under title 26 of the U nited States C ode (the           108(8) as incurred by an individual        business debts
or ag ainst debtor is pending :                                            Internal R evenue Code).                                   prim arily for personal,
                                                                                                                                      fam ily, or household use."


                               Filing Fee (check one box)                                                         Chapter 11 Debtors: (check one Box)
       Full Filing Fee attached                                                                          D ebtor is a sm all business debtor as defined in 11 U .S.C .§ 101(5/D )
       Filing fee to be paid in installm ents (A pplicable to individuals only)                          D ebtor is not a sm all business debtor as defined in 11 U .S.C . § 101(5/D )
       M ust attach sig ned application for the court's consideration                               Check if:
       certifying that the debtor is unable to pay fee except in installm ents.                        D ebtor's ag g reg ate nonconting ent liquidated debts (excluding
       R ule 1005(b). See O fficial Form no 3A .                                                         debts ow ed to insiders or affiliates) are less than $2,343,300.
       Filing Fee w aiver requested (A pplicable to chapter 7 individual only) M ust
  attach sig ned application for the court's consideration. See O fficial Form 3B                   Check all applicable boxes
                                                                                                         A plan is being filed w ith this petition.
                                                                                                         A cceptances of the plan w ere solicited prepetition from one or
                                                                                                         m ore classes of creditors, in accordance w ith 11 U .S.C , 1126(b).


Statistical/Administrative Information                                                                                                                              THIS SPACE FOR
   Debtor estimates that funds will be available for distribution to unsecured creditors
                                                                                                                                                                    COURT USE ONLY
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no
   funds available for distribution to unsecured creditors.

Estimated Number of Creditors

1-49              50-99           100-199        200-999          1,000-            5,001-        10,001-         25,001-        50,001-           Over
                                                                  5,000             10,000        25,000          50,000         100,000           100,000


Estimated Assets

$0 to             $50,001 to      $100,001       $500,001         $1,000,001        $10,000,001   $50,000,001     $100,000,001   $500,000,001      More than
$50,000           $100,000        $500,000       to $1            to $10            to $50        to $100         to $500        to $ 1 Billion    $1 Billion
                                                 Million          Million           Million       Million         Million


Estimated Liabilities

$0 to             $50,001 to      $100,001       $500,001         $1,000,001        $10,000,001   $50,000,001     $100,000,001   $500,000,001      More than
$50,000           $100,000        $500,000       to $1            to $10            to $50        to $100         to $500        to $ 1 Billion    $1 Billion
                                                 Million          Million           Million       Million         Million
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Voluntary Petition                                                                        Name of Debtor(s)
(This page must be completed and filed in every case)                                               Ernestine B. Juhan

                                 Prior Bankruptcy Case Filed within Last 8 Years (If more than one, attach additional sheet)

Location where Filed                                                                          Case number                                          Date Filed:
                                  None
             Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of the Debtor (if more than one, attach additional sheet)

Name of Debtor:                                                                           Case Number                                      Date Filed

District                                                                                  Relationship:                                    Judge:

                             Exhibit A                                                                                              Exhibit B
(To be completed if debtor is required to file periodic reports (e.g. forms                   (To be completed if debtor is an individual whose debts are primarily consumer debts)
10K and 10Q) with the Securities and Exchange Commission pursuant                         I, the attorney for the petitioner named in the foregoing petition, declare
to Section (3 or 15(d) of the Securities Exchange Act of 1934 and is                      that I have informed the petitioner that (he/she) may proceed under
requesting relief under chapter 11.)                                                      chapter 7, 11, 12, 04 13 of title 11 United States Code, and have
                                                                                          explained the relief available under each such chapter. I further certify
                                                                                          that I delivered to the debtor the notice required by § 342(b).
           Exhibit A is attached and made a part of this petition.
                                                                                          /s/ R. Creig Greaves                                               January 20, 2012
                                                                                          R. Creig Greaves                                                   Date

                                                                                  Exhibit C
D oes the debtor ow n or have possession of any property that poses or is alleg ed to pose a threat of im m inent and identifiable harm to public health or safety?
           Yes, and Exhibit C is attached and made a part of this petition.
           No.

                                                                         Exhibit D
(To be completed by every individual debtor. (if a joint petition is filed, each spouse must complete and attach a separate Exhibit D).
           Exhibit D completed and signed by the debtor is attached and made a part of this petition.
(If this is a joint petition:)
           Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                         Information Regarding the Debtor - Venue
                                                                   (Check any applicable box)
                      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                      immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this
                      District, or has no principal place of business or assets in the United States, but is a defendant in an action or proceeding (in a
                      federal or state court) in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                              Statement by a Debtor who Resides as a Tenant of Residential Property
                                                               Check all applicable boxes.

                      Landlord has a judgment for possession of debtor's residence. (If box checked, complete the following)



                                                                      (Name of landlord or lessor that obtained judgment)


                                                                      (Address of landlord or lessor)

                      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to
                      cure the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, a

                      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after
                      the filing of the petition.

                      Debtor certifies that he/she has served the Landlord with this certification (11 U.S.C. § 362(1)).
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Voluntary Petition                                                              Name of Debtor(s)
(This page must be completed and filed in every case)                                    Ernestine B. Juhan

                                                                          Signatures

            Signature(s) of Debtor(s) (Individual/Joint)                                      Signature of a Foreign Representative of a
I declare under penalty of perjury that the information provided in this                          Recognized Foreign Proceedings.
petition is true and correct. (If petitioner is an individual whose debts are
primarily consumer debts and has chosen to file under chapter 7) I am           I declare under penalty of perjury that the information provided in this
aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United     petition is true and correct, that I am the foreign representative of a debtor
States Code, understand the relief available under each such chapter, and       in a foreign main proceeding, and that I am authorized to file this petition.
choose to proceed under chapter 7.                                              A certified copy of the order granting recognition is attached.
(If no attorney represents me and no bankruptcy petition preparer signs
the petition.) I have obtained and read the notice required by § 342(b).        (Check one box)
                                                                                    I request relief in accordance w ith chapter 15 of tile 11 U .S. C ode
I request relief in accordance with the chapter of title 11, United States          C ertified copies of the docum ents required by 11 U .S.C .§ are attached
Code specified in this petition.                                                    Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the
                                                                                    chapter of title 11 specified in this petition. A certified copy of the
/s/ Ernestine B. Juhan                                                              order granting recognition of the foreign main proceeding is attached.
Signature of debtor: Ernestine B. Juhan

/s/                                                                             (Signature of Foreign Representative)
Signature of Joint Debtor:

Telephone Number (If not represented by attorney)                               (Printed Name of Foreign Representative)

 January 20, 2012
Date                                                                            (Date)


                     Signature of Attorney                                                    Signature of Non-Attorney Petition Preparer

                                                                                I declare under penalty of perjury that 1) I am a bankruptcy petition
/s/ R. Creig Greaves                                                            preparer as defined in 11 U.S.C. § 110: 2) I prepared this document for
R. Creig Greaves (Bar # 071035)                                                 compensation and have provided the debtor with a copy of this document
                                                                                and the notices and information required under 11 U.S.C. § 110(b), and
Attorney at Law
                                                                                342(b); and 3) if rules or guidelines have been promulgated pursuant to
110 West "C" Street, Suite 2101                                                 11 U.S.C. §§ 110(b), 110(h) and (3). if rules or guidelines have been
San Diego, CA 92101                                                             promulgated pursuant to 11 U.S.C. § 110(h) setting the maximum fee for
Tel: (619) 234-0033                                                             services chargeable by bankruptcy petition preparers, I have given the
                                                                                debtor notice of the maximum amount before preparing any document for
Fax: (619) 234-3335
                                                                                filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                section Official Form 19 is attached.


  January 20, 2012                             071035                           Printed Name and title, if any, of Bankruptcy Petition Preparer
Date                                        Bar Number
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes
a certification that the attorney has no knowledge after an inquiry that the    Social Security number (If the bankruptcy petition preparer is not an
information in the schedules is incorrect.                                      individual, state the Social Security number of the officer, principal,
                                                                                responsible person or partner of the bankruptcy petition preparer.)
          Signature of Debtor (Corporation/Partnership)                         (Required by 11 U.S.C. § 110.)

I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this      Address:
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United
States Code, specified in this petition                                         Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                                person, or partner whose social security number is provided above.

/s/                                                                             Names and Social Security number of all other individuals who prepared
signature of authorized Individual:                                             or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual:

Printed Name of Authorized Individual                                           If more than one person prepared this document, attach additional sheets
                                                                                conforming to the appropriate official form for each person.

Title of Authorized Individual                                                  A bankruptcy petition preparer's failure to comply with the provisions of
                                                                                title 11 and the Federal Rules of Bankruptcy procedure may result in fines
                                                                                or imprisonment or both. 11 U.S.C. §110: 18 U.S.C. § 156.
Date
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                                       UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA
 In re:   Ernestine B. Juhan                                  CHAPTER       7
                                    Debtor(s).                CASE NO.


                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                     CREDIT COUNSELING REQUIREMENT.

W arning: You m ust be able to check truthfully one of the five statem ents regarding credit counseling listed below.
If you cannot do so, you are not eligible to file a bankruptcy case, and the court can dism iss any case you do file.
If that happens, you will lose whatever filing fee you paid, and your creditors will be able to resum e collection
activities against you. If your case is dism issed and you file another bankruptcy case later, you m ay be required
bo pay a second filing fee and you may have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a
separate Exhibit D. Check one of the five statements below and attach any documents as directed.

                1.    W ithin the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate from
the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt repayment
plan developed through the agency.

                2. W ithin the 180 days before the filing of m y bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a certificate
from the agency describing the services provided to me. You must file a copy of a certificate from the agency
describing the services provided to you and a copy of any debt repayment plan developed through the agency no
later than 15 days after your bankruptcy case is filed.

            3.   I certify that I requested credit counseling services from an approved agency but was unable to obtain
the services during the five days from the time I made my request, and the following exigent circumstances merit a
temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be accompanied
by a motion for determination by the court.] [Summarize exigent circumstances here.]




    If the court is satisfied with the reasons stated in your m otion, it will send you and order approving your request.
You must still obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and
prom ptly file a certificate from the agency that provided the briefing, together with a copy of any debt m anagem ent
plan developed through the agency. Any extension of the 30 - day deadline can be granted only for cause and
is lim ited to a maxim um of 15 days. A motion for extension must e filed within the 30 - day period. Failure to fulfill
these requirem ents m ay result in dism issal of your case. If the court is not satisfied with your reasons for filing
your bankruptcy case without first receiving a credit counseling briefing, your case m ay de dism issed.




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           4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.]
[Must be accompanied by a motion for determination by the court.]

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
                   deficiency so as to be incapable of realizing and making rational decisions with respect to financial
                   responsibilities.);

                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable,
                   after reasonable effort, to participate in a credit counseling briefing in person, by telephone or
                   through the internet.);

                   Active military duty in a military combat zone.

               5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.



  I certify under penalty of perjury that the inform ation provided above is true and correct.




Signature of Debtor:/s/ Ernestine B. Juhan
                    Ernestine B. Juhan, Debtor



Dated:      January 20, 2012




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                            United States Bankruptcy Court
                                              Southern District of California

In re: Ernestine B. Juhan                                                                          Case Number:

                                                                                                    Chapter 7
                                                  SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A,B,D,E,F,I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount
of the debtor's assets. Add the amounts from Schedules D,E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.

                                                                                       AMOUNTS SCHEDULED

   NAME OF SCHEDULE                     Mark if      NO OF              ASSETS               LIABILITIES              OTHER
                                       Attached      SHEETS

 A. Real Property                                         1
                                          X                              555,000
 B. Personal Property                                     3
                                          X                               11,881
 C. Property Claimed as                                   1
    Exempt                                X
 D. Creditors Holding                                     1
     Secured Claims                       X                                                        555,191
 E. Creditors Holding Unsecured                           3
    Priority Claims.                      X                                                                  0
 F. Creditors Holding Unsecured                           2
    Non-priority and PND Claims           X                                                          27,971
 G. Executory Contracts and                               1
    Unexpired Leases                      X
 H. Codebtors                                             1
                                          X
 I. Current Income of                                     2
    Individual Debtors                    X                                                                                3,964
 J. Current Expenditures of                               1
    Individual Debtors                    X                                                                                4,661
       TOTAL NUMBER OF SHEETS ATTACHED                    16


                         Total Assets..........................        $566,881
                                    Total Liabilities...............................             $583,162
Schedules

 Schedule C: Total value of claimed exemptions.                                        $20,812

 Schedule I, Line 1: Monthly gross wages, salary and commission.           Debtor                $2,802      Spouse            $0

 Schedule I, Line 5: Subtotal of payroll Deductions.                       Debtor                 $298       Spouse            $0

 Schedule J, Line 20 C: Monthly net income.                                            $2,504
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                                             United States Bankruptcy Court
                                             Southern District of California

In re: Ernestine B. Juhan                                                                     Case Number:

                                                                                              Chapter 7


                STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. §101(8)), filing a case under Chapter 7, 11, or 13, you must report all information requested below.

           Check this box if you are an individual debtor whose debts are NOT prim arily consumer debts. You are not
           required to report any information here. This inform ation is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                      Amount
 Domestic Support Obligations ( from Schedule E)                 $0
 Taxes and Certain Other Debts Owed to                           $0
 Governmental Units (from Schedule E).

 Claims for Death or Personal Injury Wile Debtor                 $0
 was Intoxicated (from Schedule E)

 Student Loan Obligations ( from Schedule F).                    $0
 Domestic Support, Separation Agreement, and
 divorce Decree Obligations Not reported on                      $0
 Schedule E.

 Obligations to Pension or Profit-sharing, and Other             $0
 Similar Obligations (from Schedule F)

 Total                                                           $0

State the following:

 Average Income (from Schedule I, Line 16)                   $3,964

 Average Expenses (from Schedule J, Line 16)                 $4,661

 Current Monthly Income (from Form 22A Line 12;              $4,262
 OR , Form 22B Line 11; OR, Form 22C Line 20)

State the following:

 1. Total from Schedule D. " UNSECURED                                            $57,984
    PORTION, IF ANY" column

 2. Total from Schedule E. "AMOUNT ENTITLED                           $0
    TO PRIORITY" column.

 3. Total from Schedule E, "AMOUNT NOT                                                  $0
    ENTITLED TO PRIORITY, IF ANY" column.

 4. Total from Schedule F.                                                        $27,971

 5. Total of non-priority unsecured debt (1,3 & 4)                                $85,955
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In re: Ernestine B. Juhan


                                               SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all
property owned as a co-tenant, community property, or in which the debtor has a life estate. Include any property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is married state whether husband,
wife, or both own the property by placing an "H," "W," "J," or "C" in the column so indicated. If the debtor holds no interest
in real property, write "None" under "Description and Location of Property."

   D o not include interests in executory contracts and unexpired leases on this schedule. List them in S chedule G -
Executory Contracts and Unexpired Leases.

  If an entity claims to have a lien or hold a secured interest in any property state the amount of the secured claim. See
Schedule D. If no entity claims to hold a secured interest in the property, write "None" in the column labeled "Amount of
Secured Claim."

  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in
Schedule C - Property Claimed as Exempt.


                                                                                             CURRENT
           DESCRIPTION AND                            NATURE OF                  “H”“      MARKET VALUE OF       AMOUNT OF
             LOCATION OF                           DEBTOR’S PROPERTY             “W”         DEBTOR’S             SECURED
              PROPERTY                                                            “J”    PROPERTY WITHOUT           CLAIM
                                                                                  “C”   DEDUCTING SECURED
                                                                                           OR EXEMPTION

 Single Family Residence                        Owner                                        500,000              555,191
 581 Rush Drive
 San Marcos, CA 92078
 Single Family Residence                        Mobile home for                               55,000               60,865
 650 S Rancho Santa Fe                          Husband’s use -
 San Marcos, CA 92078                           pays mortgage




                             Real Property Total.....................................    $555,000




                                                              Schedule A
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In re: Ernestine B. Juhan
                                               SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one
or more of the categories, place an "X" in the appropriate position in the column labeled "None". If additional space is needed
in any category, attach a separate sheet properly identified with the case name, and the number of the category. If the debtor
is married, state whether husband, wife, or both own the property by placing an "H", "W", "J" or "C" in the column so labeled.
If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C -
Property Claimed as Exempt.

  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

   If the property is being held for the debtor by someone else, state that person's name and address under "Description and
Location of Property". If the property is being held for a minor child simply state the child's initials and the name and address
of the child's parent or guardian, such as "AB., a minor child, by John Doe, guardian" Do not disclose the child's name. See
11 U.S.C. § 112 and Fed R. Bankr P. 1007(m).


                                                            DESCRIPTION AND LOCATION                                       CURRENT
                                       N                             OF PROPERTY                              “H”      MARKET VALUE OF
       TYPE OF PROPERTY                O     Unless otherwise indicated property is in the possession of      “W”     DEBTOR’S INTEREST
                                       N   debtor(s) at the residence listed on the petition herein. Unless   “J”     IN PROPERTY, WITH-
                                       E   otherwise indicated, property is jointly owned in the case of      “C”     OUT DEDUCTING ANY
                                                          husband and wife joint filing                               SECURITY/EXEMPTION

 1. Cash on hand                           Cash on hand.                                                                    Nominal
 2. Checking, savings or other             Deposits in bank - amounts estimated
 financial accounts, certificates of
 deposit or shares in banks,
 savings and loan, thrift, building                                                                                            1,000
 and loan, and homestead
                                           Wells Fargo - checking
 associations, or credit unions,
 brokerage houses, or
 cooperatives.

 3. Security deposits with public
 utilities, telephone companies,
 landlords, and equipment.             X
 4. Household        goods and             Miscellaneous Household Goods                                                       2,500
 furnishings including audio, video,
 and computer equipment.

 5. Books, pictures and other art
 objects: antiques, stamp, coin,
 record, tape, compact disc, and       X
 other collections or collectibles.

 6. Wearing apparel.                       Clothing                                                                              500
 7. Furs and jewelry.                      Jewelry                                                                               600
 8. Fire a r m s and   s p o r ts,
 photographic and other hobby
 equipment                             X
 9. Interests in insurance policies,
 Name insurance company of each
 policy and itemize surrender or       X
 refund value of each.

 10 Annuities. Itemize and name        X
 each issuer.




                                                                   Schedule B
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In re: Ernestine B. Juhan
                                              SCHEDULE B - PERSONAL PROPERTY
                                                       (Continuation Sheet)

                                                                                                       CURRENT
                                        N                                                “H”       MARKET VALUE OF
     TYPE OF PROPERTY                   O                                                “W”      DEBTOR’S INTEREST
                                                      DESCRIPTION AND LOCATION
                                        N                                                “J”      IN PROPERTY, WITH-
                                                             OF PROPERTY
                                        E                                                “C”     OUT DEDUCTING ANY
                                                                                                 SECURITY/EXEMPTION

11, Interests in an education IRA
as defined in 26 U.S.C. §530(b)(1)
or under a qualified state tuition
plan as defined in 26 U.S.C. §          X
529(b)(1). Give particulars. File
separately the record(s0 of such
interest(s) 11 U.S.C. § 521(c);
Rule 107(b).

12 Interests in Ira, Erisa, Keogh, or   X
other pension or profit Sharing
Plans. Give Particulars.

13. Stock and Interests in              X
incorporated and unincorporated
businesses. Itemize.

14. Interests in partnerships or        X
joint ventures. Itemize.

15. Government and corporate            X
bonds and other negotiable and
nonnegotiable instruments

16. Accounts receivable.                X
17 Al i m o n y , m a i n t e nance,
support, and property settlements
to which the debtor is or may be        X
entitled. Give particulars.

18 Other liquidated debts owing         X Not expecting refund for 2011 - not paying
debtor including tax refunds.
Give particulars.                         mortgage
19. Equitable or future interests,
life estates, and rights or powers
exercisable for the benefit of the      X
debtor other than those listed in
Schedule of Real Property.

20. Contingent        and non-
contingent interests in estate of
decedent, death benefit plan, life      X
insurance policy, or trust.

21. Other contingent and
unliquidated claims of every
nature, including tax refunds,          X
counterclaims of the debtor, and
rights to setoff claims.    Give
estimated value of each

22. Patents, copyrights, and            X
other intellectual property. Give
particulars.

23. Licenses, franchises, and           X
other general intangibles. Give
particulars.


                                                             Schedule B
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                                              SCHEDULE B - PERSONAL PROPERTY
                                                          (Continuation Sheet)

                                                                                                                         CURRENT
                                       N                 DESCRIPTION AND LOCATION                           “H”      MARKET VALUE OF
       TYPE OF PROPERTY                O                        OF PROPERTY                                 :W:     DEBTOR’S INTEREST
                                       N                                                                     :J:    IN PROPERTY, WITH-
                                       E                                                                    “C”    OUT DEDUCTING ANY
                                                                                                                   SECURITY/EXEMPTION

24.    Customer lists or other
compilations containing
personally identifiable information
(as defined in 11 U.S.C.§              X
101(41A) provided the debtor by
individuals in connection with
obtaining a produce or service
from the debtor primarily for
personal, family, or household
purposes.

25. Automobiles, trucks, trailers          2002 Hyundai Accent              110K miles                                     1,369
a n d o t h er v e h i c l e s a n d
accessories.
                                           2000 Lexus RX 300             130K miles                                        5,912
Automob iles in debtor( s)
possession at residence listed in
petition unless otherwise
indicated.

26. B o a t s ,   motors,      and     X
accessories.

27. Aircraft and accessories.          X
28. O f f i c e  equipment,            X
furnishings and supplies.

29. M a c h i n e r y , fixtures,      X
equipment and supplies used in
business.

30. Inventory.                         X
31. Animals.                           X
32. Crops - growing              or    X
harvested. Give particulars

33. Farming equipments and             X
implements.

34. Farm supplies, chemicals,          X
and feed.

35. Other personal property of         X
any kind not already listed.

                           PERSONAL PROPERTY TOTAL.............................................................    $11,881




                                                                Schedule B
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                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
      Debtor elects the exemptions to which debtor is entitled                          Check if debtor claims a homestead     under
11 U.S.C.§ 522(b)(2).                                                      exemption that exceeds $146,450.*
      Debtor elects the exemptions to which debtor is entitled
   under 11 U.S.C.§ 522(b)(3).
California Code of Civil Procedure Section 703 Exemptions elected.
Debtor has lived in this state for at least 2 years.
                                              SPECIFY LAW                            VALUE OF             CURRENT MARKET
  DESCRIPTION OF PROPERTY                   PROVIDING EACH                           CLAIMED             VALUE OF PROPERTY
                                               EXEMPTION                            EXEMPTION            WITHOUT DEDUCTING
                                                                                                             EXEMPTION

 AUTOMOBILE(S)                        703.140 (b) (2) ($3,300 max)

 2002 Hyundai Accent                  Balance, if any, is claimed                            3,300                   1,369

                                      under 703.140 (b) (1 and 5)

 JEWELRY                              703.140 (b) (4) ($1,350 max)                             600                    600

 BOOKS AND TOOLS OF TRADE             703.140 (b) (6) ($2,075 max)

 STOCK BONUS, PENSION,                703.140 (b) (10) (E)
 ANNUITY, ETC.                        (Necessary)

 PERSONAL INJURY RECOVERY             703.140 (b) (11) (D)
                                      ($17,425 max)

 COMPENSATION FOR LOSS                703.140 (b) (11) (E)
 OF EARNINGS                          (Necessary)

 HOUSEHOLD GOODS                                                                             2,500                   2,500

 WEARING APPAREL                                                                               500                    500

 AUTOMOBILES
 2000 Lexus RX 300                                                                           5,912                   5,912

                                      CCP 703.140 (b)(1) and (5)



 BOOKS AND TOOLS OF
 TRADE

 DEPOSITS                                                                                    3,000                   1,000

 POSSIBLE TAX REFUND                                                                         5,000                       0




              UNSCHEDULED EXEMPTION RESERVE . . . . . . . . . .                            $4,913

                                                    TOTAL. . . . . . . .                 $21,825
*Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                        Schedule C
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MUTUAL WAIVER OF RIGHT TO CLAIM STATE EXEMPTIONS, OTHER THAN THOSE PROVIDED IN CALIFORNIA CODE OF
            CIVIL PROCEDURE SECTION 703.140(B), DURING PENDENCY OF BANKRUPTCY CASE.
                          (California Code of Civil Procedure §703.140(a)(2))

1.      IDENTIFICATION OF PARTIES. This mutual waiver, is made by Ernestine B. Juhan and Herman J. Juhan,
        husband and wife.

2.      PURPOSE OF THIS WAIVER. This waiver is made to satisfy the requirement set forth in California Code
        of Civil Procedure §703.140(a)(2) regarding the election of exemptions pursuant to §703.140(b)
        by married debtors who file an individual Bankruptcy Petition.

3.      LEGAL RIGHTS WAIVED. California Code of Civil Procedure §703.140(a)(2) provides:

        "If a petition is filed individually, and not jointly for a husband or a wife, the exemptions
        provided by this chapter other than the provisions subdivision (b) are applicable, except
        that, if both husband and wife effectively waive in writing the right to claim during the
        period the case commenced by filing, the petition is pending. The exemptions provided
        by the applicable exemption provisions of this chapter, other than subdivision (b) in any
        case commenced by filing a petition for either of them under Title 11 of the United States
        Code, then they may elect instead to use the applicable exemptions set forth in subdivision
        (b)."

4.      RIGHT TO HAVE INDEPENDENT COUNSEL REVIEW WAIVER. Both parties acknowledge that they have
        been informed of their right to consult an attorney regarding the effect of this waiver on them.

5.      MUTUAL WAIVER. Both parties, by executing this agreement below, hereby waive their right claim
        any state exemptions, other than those provided in California Code of Civil Procedure
        §703.140(b), during the pendency of the Chapter 7 Bankruptcy of Ernestine B. Juhan, filed in the
        U.S. Bankruptcy Court for the Southern District of California. The foregoing is agreed to by:

Dated: January 20, 2012                           /s/ Ernestine B. Juhan
                                                  Ernestine B. Juhan

Dated: January 20, 2012                           /s/ Herman J. Juhan
                                                  Herman J. Juhan




                                                Schedule C
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                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
         State the name, mailing address, including zip code, and account number, if any, of all the entities holding claims
secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of
trust, and other security interests.

        List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a
minor child." See 11 U.S.C. § 112; Fed. R. Bankr P 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.

         If any entity other than a spouse in a joint case may be jointly liable on a claim, indicate "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them or the marital community may be liable on each claim by indicating in the column indicated. If
the claim is contingent unliquidated, or disputed, indicate in the column indicated.

       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed
schedule. Report this total also on the summary of Schedules.


        Check box if the debtor has no secured creditors.


 Information is provided for each Secured creditor listed herein. In each case it is assumed that the
 debt is Liquidated, Undisputed, Not Contingent or subject to Setoff, Not Cosigned owed by both debtors if
 Joint filing. If debt is other than as described, information will be provided in the box with
 description of collateral, value and date purchased here... ú
 Name                                            Alternate description of debt                     Amount of        Unsecured
 Address                                         Security =                                          Claim           Portion
 City/state/zip                                  Value of security =                                Without           if any
 (and duplicate address)                         Date debt incurred =                              Deduction


 BAC Home Loans                                  Security =1st T/D on residence                       452,150
 P.O. Box 515503                                 Value of security =$500,000                                                     0
 Los Angeles, CA 90051                           Date debt incurred =09/04
 Wells Fargo Bank, NA                            Security =2nd/Home Equity                              99,969           52,119
 P.O. Box 54780                                  Value of security =same as above
 Los Angeles, CA 90054                           Date debt incurred =11/04
 CA Department of Veteran’s Affairs              Security =1st T/D on mobile home                       60,865             5,865
 P.O. Box 942888                                 Value of security =$55,000
 Sacramento, CA 94288                            Date debt incurred =08/07
                                                 Co-signed with Husband, see Sch
                                                 “H”

                                                                     Secured Debt Total              $555,191

                                                                           Unsecured Portion Total                      $57,984




                                                          Schedule D
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                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only
holders of unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the
name and mailing address, including zip code, and account number, if any, of all entities holding priority claims against the debtor or the
property of the debtor, as of the date of the filing of this petition. Use a separate continuation sheet for each type of priority and label each
with the type of priority

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may
be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child." do not include the name
or address of a minor child in this schedule. See 11U.S.C.§112; Fed R. Bankr P. 1007(m).

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor”, include
the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H", "W", "J" or "C" in the column so
labeled.

         If any entity other than a spouse in a joint case may be jointly liable on a claim, indicate "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them or the marital community may be liable on each claim by indicating in the column indicated. If
the claim is contingent unliquidated, or disputed, indicate in the column indicated.

         Report the total of claims listed on each sheet in the box labeled "Total of all claims entitled to priority under § 507a)(1) and §
507(a)(8) and report separately the se totals also on the Summary of Schedules. If applicable, also report the total on the Means Test Form.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS. (Check appropriate box(es) below if claims in that category are on attached sheets.

         Domestic Support Obligations.
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the
         debtor, or the parent, legal guardian, or responsible relative of such a child, or a governmental unit to whom
         such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case.
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of
         the case but before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. §507(a)(3).

         Wages, salaries, and commissions.
         Wages, salaries and commissions including vacation, severance, and sick leave pay owing to employees and
         commissions owing to qualifying independent sales representatives up to 10,950 per person, earned within
         180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
         occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
         Money owed to employee benefit plans for services rendered within 180 days immediately preceding the
         filing of the original petition, or cessation of business, whichever occurred first, to the extent provided in 11
         U.S.C. § 507(a)(5).

         Certain farmers and fishermen.
         Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as
         provided in 11 U.S.C. § 507(a)(6).




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        Deposits by individuals.
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for
        personal, family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units.
        Taxes, custom duties, and penalties owing to federal, state, and local governments as set forth in 11 U.S.C
        § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution.
        Claims base on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of
        the Currency, or Board of Governors of the Federal Reserve system, or their predecessors or successors,
        to maintain the capital of an insured depository institution. 11 U.S. C. § 507(a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated.
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was
        intoxicated from using alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




*       Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases
        commenced on or after the date of adjustment.




                                                        Schedule E
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                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                             (Continuation Sheet)


                                                                    Type of Priority for Claims listed.

 Information is provided for each priority creditor listed herein. In each case it is assumed that the
 debt is Liquidated, Undisputed, Not Contingent or subject to Setoff, Not Cosigned owed by both debtors if
 Joint filing. If debt is other than as described, information will be provided in the box with date of
 claim and consideration for claim........................ ú
 Name                                        Date Claim was Incurred                  Amount       Amount      Amount
 Address                                      and Consideration for                      of        Entitled      not
                                                                                       Claim          to       Entitled
 City/state/zip                                       Claim.                                       Priority       to
 (and duplicate address)                          Type of Claim                                                Priority




                                                       Priority Claim Total.......           $0


                                                       Amount Entitled to Priority............           $0


                                                       Amount Not Entitled to Priority......................        $0




                                                Schedule E
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                 SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
    State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims
without priority against the debtor or the property of the debtor, as of the date of the filing of the petition. The complete
account number of any account of the debtor has with creditor is useful to the trustee and the creditor and may be provided
if the debtor chooses to do so. Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use
the continuation sheet provided.

         Individual debtors with primarily consumer debts: If any claim is or may be predominantly nondischargeable under
§§ 523(a)(15), or (a)(18) of the Bankruptcy Code (11 U.S.C. § 101 et seq. an indicate that the debt is PND and total these
claims separately. Designating a claim as "PND" is not intended to be an admission by the debtor concerning the
dischargeability of any particular scheduled debt. For example, a debt of the kind described in § 523(a)(15) of the Code would
not be discharged in a chapter 7 case, but may be discharged in a chapter 13 case. Nevertheless, a debtor filing under any
chapter should mark a § 523(a)(15) debt as "PND". The designation is for statistical purposes only and will enable the courts
to report to Congress concerning the amount of debt scheduled "in categories which are predominantly nondischargeable,"
as required by 28 U.S.C. § 159(c)(3)(C).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, indicate "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them or the marital community may be liable on each claim by indicating in the column indicated. If
the claim is contingent unliquidated, or disputed, indicate in the column indicated.

        Report the total of "PND" claims and the Total of ALL Claims to the summary of Schedules.


             Check box if the debtor has no unsecured nonpriority creditors.

 Information is provided for each Unsecured creditor listed herein. In each case it is assumed that
 the debt is Liquidated, Undisputed, Not Contingent or subject to Setoff, Not Cosigned owed by both
 debtors if Joint filing. It is further assumed that each debt listed is Not PND (Presumed
 Nondischargeable). If debt is other than as described, information will be provided in the box with
 description of debt and date incurred................. ú
 Name                                            Alternate description of debt, if any.                               Amount
 Address                                         Date debt was incurred.
 City/state/zip
 (and duplicate address)


 Bank of America                                 Credit card purchases                                                     2,624
 P.O. Box 15019                                  01/96
 Wilmington, DE 19850
 Citibank                                        Credit card purchases                                                       705
 P.O. Box 6500                                   09/96
 Sioux Falls, SD 57117
 American Express                                Credit card purchases                                                     6,706
 P.O. Box 7871                                   05/04
 Ft Lauderdale, FL 33329



                                                          Schedule F
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Capital One                          Credit card purchases                                    6,602
P.O. Box 85015                       03/01
Wilmington, DE 23285
Discover Card                        Credit card purchases                                    3,420
P.O. Box 15316                       04/94
Wilmington, DE 19850
Guitar Center/HSBC                   Credit account                                           1,872
P.O. Box 5253                        11/07
Carol Stream, IL 60197

LVNV Funding                         Collection for Guitar Center/HSBC
P.O. Box 740281
Houston, TX 77274
Discover Card                        Credit card purchases                                    1,477
P.O. Box 15316                       05/94
Wilmington, DE 19850
GE Capital Retail                    Credit account                                           1,453
P.O. Box 960061                      12/09
Orlando, FL 32896

Portfolio Recovery                   Collection for GE Capital Retail
120 Corporate Blvd, Ste 1
Norfolk, VA 23502
American Express                     Credit card purchases                                    1,350
P.O. Box 7871                        11/04
Ft Lauderdale, FL 33329
Kohl’s/Capone                        Credit account                                               577
P.O. Box 2983                        08/05
Milwaukee, WI 53201
Lowe’s/GE Capital Retail             Credit account                                               860
P.O. Box 103065                      12/04
Roswell, GA 30076
Esperanza/Sonrisa Homeowners         HOA dues                                                     325
P.O. Box 51412                       08/00
Los Angeles, CA 90051

                                                           Total of PND Claims                     $0

                                                           Total of ALL Claims              $27,971




                                             Schedule F
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                        SCHEDULE G - EXECUTORY CONTRACTS & UNEXPIRED LEASES
   Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
interests. State nature of debtor's interest in contract, i.e. "Purchaser,""Agent,"etc. State whether debtor is the lessor or lessee
of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a
minor child is a party to one of the leases or contracts, indicate that by stating "a minor child." See 11 U.S.C. §112, Fed. R.
Bankr. P 1007(m).


             Check this Box if debtor has no executory contracts or unexpired leases.

        Name and mailing address including zip code                   Description of contract or lease and nature of debtor’s
           or other parties to lease or contract.                   interest. State whether lease is for nonresidential real
                                                                    property. State contract number of any government
                                                                                      contract.




                                                          Schedule G
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                                              SCHEDULE H - CODEBTORS
   Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable
on any debts listed by debtor in the schedules of creditors. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property
state, commonwealth, or territory. Include all nam es used by the non-debtor spouse during the eight years immediately
preceding the commencement of the case. If a minor child is a codebtor or a creditor, indicate that by stating "a minor child."
See 11 U.S.C. §112. Fed. Bankr. P 1007(m).


           Check this box if debtor has no Codebtors.

            Name and address of codebtor                                      Name and address of creditor

 Herman Juhan                                                    CA Department of Veteran’s Affairs
 650 S Rancho Santa Fe                                           P.O. Box 942888
 San Marcos, CA 92078                                            Sacramento, CA 94288




                                                        Schedule H
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                              SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTORS
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by married debtor in a chapter 7, 11,
12, or 13 case whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. do not
state the name of any m inor child. The average monthly income calculated may differ from the current monthly income
calculated on Form 22a, 22B, or 22c.

 Debtors Marital Status:                Separated

 Dependents of debtor and spouse :                    Debtor has three children ages 18, 17, and 12 years

 Describe expected increases/decreased in pay next 12 months:                     None expected


           Employment                               Ernestine B. Juhan

 Occupation:                       Secretary

 Employer:                         San Marcos Unified School District

 Employer address:                 255 Pico Avenue #250

 Employer City/state:              San Marcos, CA 92069

 How long employed/Tel             7 years          (760) 290-2535


                    Income                                     Ernestine B. Juhan

 Income from Wages, Salaries + Overtime                                  $2,802

 DEDUCTIONS:............Federal:                                            $0

                  ................State:                                    $0

                  .......Social Sec.:                                     $118

                  ..........Medicare:                                      $41

                 ....................SDI:                                  $27

  Other:                                                                  $112

  Estimated net monthly take home pay:                                   $2,504                                  $0

 Income - Operation of Business:

 Income from Real Property:

 Interest and Dividends:

 Alimony, Maintenance, Support

 Social Security or Government Assist:

 Pension or Retirement:

 Other: Assistance for Children                                          $1,460

 Subtotal of other income above:                                         $1,460                                  $0

                    TOTAL COMBINED MONTHLY INCOME:                                       $3,964




                                                                Schedule I
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                       Calculation of Income using Year-To-Date figures


   Number of months income used to calculate.              12


                               Year-To-Date Figure             Monthly             Number placed
                                                              Equivalent            in means test

 Gross Income                           33,624.08                   2,802.01          Line 11

 Federal Taxes                                                              0.00      Line 25
 State Taxes                                                                0.00
 Social Security                         1,412.21                     117.68              $186
 Medicare                                  487.55                       40.63
 SDI                                       328.80                       27.40
 Medical                                                                    0.00      Line 26
 Dental                                                                     0.00
 Vision                                                                     0.00          $112
 Life                                    1,347.40                     112.28
                                                                            0.00

          Net Income                   $30,048.12                 $2,504.01


                            CURRENT MONTHLY INCOME DETAILS FOR THE DEBTOR
         The debtor has been at this job for at least the last 6 months. Income does not vary
 considerably. The year-to-date income was used from the most recent pay stub available in order to
 calculate the average monthly income as shown above. This average monthly income shown above
 is the figure which is shown in schedule I. This figure is the same amount shown in Line 11 of the
 attached Means Test.
       Likewise, the monthly expenses for the debtor are calculated utilizing the year-to-date expenses
 in each category. The taxes (shown in pink color) calculated above are added and placed in the
 Means Test, Line 25. Other deductions above are added and placed in the Means Test, Line 26

                                      ATTORNEY CERTIFICATE
      I have reviewed the documentation of the debtor upon which the representations of the debtor
are made in this statement.

Dated: January 20, 2012                              /s/ R. Creig Greaves
                                                  R. Creig Greaves



                                                Schedule I
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In re    Ernestine B. Juhan
                           SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTORS
                Estimated average monthly expenses. Pro rate bi-weekly, quarterly, semi annual to show monthly rate.
          Check box if a joint petition is filed and debtor's spouse has separate household. List expenses separately.
        Otherwise expenses of Debtor are for both husband and wife                                   Debtor          Spouse

 (1) Rent or home mortgage payment:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     Taxes included?      yes     no      Insurance included?                       yes            no                        2,301

 (2) Utilities:          Electricity and heating fuel:. . . . . . . . . . . . . . . . . . . . . . . . . . . .                 110

                         Water and sewer:.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               100

                         Telephone:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          160

 (3) Home maintenance (repairs and upkeep) HOA.. . . . . . . . . . . . . . . . . . . . .                                      110

 (4) Food - (4 family members):. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      450

 (5) Clothing:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           50

 (6) Laundry and dry cleaning:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 (7) Medical, dental and drug expense:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             50

 (8) Transportation (not including car payments). . . . . . . . . . . . . . . . . . . . . . . .                               300

 (9) Recreation, clubs and entertainment, newspapers, magazines, etc:.. . . . .                                               100

 (10) Charitable contributions:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 (11) Insurance:               (a) Homeowner's or Renter's:. . . . . . . . . . . . . . . . . . . . . . .                      120

                               (b)           Life              health              other insur.a.n.c.e.:.. . . . . .

                               (c) Auto Insurance. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                110

 (12) Taxes (not deducted from wages) Specify: Prop taxes                                                                     400

 (13) Installment payments:                         Auto              Proposed auto                     Other:

 (14)            Alimony                  Child Support             Ages of children .[. .].. . . . . . . . . . .

 (15) Payments for support of additional dependents not living at home:. . . . .

 (16) Regular expenses from operation of business, profession or farm:. . . . .

 (17) Other: Cable TV and Internet:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      100

         Student Loans. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           200

 (18)                                    TOTAL MONTHLY EXPENSES                                                             $4,661              $0

 (19) Describe any increase or decrease in expenditures anticipated within I year from the filing of this
 document: None expected

 (20) STATEMENT OF INCOME:                                   a. Total projected monthly Income:. .                                     $3,964

                                                             b. Total projected monthly expenses                                       $4,661

                                                             c. Monthly net income (a minus b.)                                        ($697)



                                                                          Schedule J
        Case 12-00662-LA7                Filed 01/20/12          Entered 01/20/12 11:50:19                     Doc 1         Pg. 25 of 41
 IN RE Ernestine B. Juhan                                        Check the box as directed in Parts I, II, and IV of this statement.
                                                                                    The presumption arises
 Case number:
                                                                                    The presumption does not arise
                                                                                    The presumption is temporarily inapplicable



                              CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                        AND MEANS TEST CALCULATION
In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly,.
Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint
filer must complete a separate statement.


                                        Part I. MILITARY AND NON-CONSUMER DEBTORS.
        Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA , (1) check the box at the beginning
        of the Veteran's Declaration, (2) check the "Presumption does not arise" box at the top of this statement, and (3) complete the
        verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1A

               Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in 38
        U.S.C. §3741(1) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C.
        § 101(d)(1) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

        Non-Consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part
  1B    VIIII. Do not complete any of the remaining parts of this statement.

                Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.


        Reservists and National Guard Members: active duty or homeland defense activity. Members of a reserve component of the Armed
        Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1) after September
        22, 2001, for a period of at least 90 days, or who have performed homeland defense activity as defined in 32 U.S.C. § 901(1)
        for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense
        activity and in 540 days thereafter the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate
        boxes and complete any required information in the Declaration of Reservists and National Guard Members below, (2) check
        the box for "The presumption is temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part
        VIII. During your exclusion period you are not required to complete the balance of this form, but you must complete the form no later than
        14 days after the date on which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires
        in your case before your exclusion period ends.
  1C
                    Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below,
                    I declare that I am eligible for a temporary exclusion from means testing because as a member of a reserve
                    component of the Armed Forces or the National Guard


                    a.               I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                               I remain on active duty, /or/
                                               I was released from active duty on , which is less than 540 days before this bankruptcy
                                               case was filed.

                            OR

                    b.               I am performing homeland defense activity for a period of at least 90 days /or/
                                     I performed homeland defense activity for a period of at least 90 days terminating on               ,
                                     which is less than 540 days before this bankruptcy case was filed.
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                         Part II. CALCULATION OF MONTHLY INCOME FOR § 707(B)(7) EXCLUSION
     Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     a.           Unmarried. Complete only Column A ("Debtor's Income:) for Lines 3-11
     b.           Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                  "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
                  purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
                  Complete only Column A ("Debtor's Income") for Lines 3-11.
2
     c            Married, not filing jointly, without the declaration of separate households set out in Line 2.B above, Complete both Column A
                  ("Debtor's Income") and Column B (spouse's Income) for Lines 3-11.
     d.           Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B (spouse's Income) for Lines 3-11.

      All figures must reflect average monthly income for the six calendar months prior to filing the bankruptcy          Column A         Column B
     case ending on the last day of the month before the filing. If you received different amounts of income               Debtor's        Spouse's
     during these six months, you must total the amounts received during the six months, divide this total by six,         Income           Income
     and enter the result on the appropriate line.

3    Gross wages, salary, tips, bonuses, overtime, commissions.                                                            $2,802               $0

     Income from the operation of a business, profession or farm. Subtract line b from Line a and enter the
     difference on Line 4. do not enter a number less than zero. Do not include and part of the business
     expenses entered on Line b as a deduction in Part V.
4
      a.       Gross Receipts                                                                             $0
                                                                                                                               $0               $0
      b.       Ordinary and necessary business expenses

      c.       Business income                                                                            $0

     Rent and other real property income. Subtract line b from Line a and enter the difference on Line 5.
     Do not enter a number less than zero. Do not include any part of the operating expenses entered on Line
     b as a deduction in Part V.
5
      a.       Gross income                                                                               $0
                                                                                                                               $0
      b.       Ordinary and necessary operating expenses

      c,       Rental Income                                              Subtract Line b from Line a

6    Interest, dividends and royalties.                                                                                        $0               $0

7    Pension and retirement income.                                                                                            $0               $0

8    Any amounts Paid by another person or entity, on a regular basis, for the household expenses of the debtor
     or the debtor's dependents, including child or spousal support paid for that purpose. Do not include                      $0               $0
     amounts paid by the debtor's spouse if Column B is completed.

     Unemployment compensation. Enter the amount in Column A and, if applicable, Column B. However, if you
     contend that unemployment compensation received by you or your spouse was a benefit under the social
9    Security Act, do not list the amount of such compensation in Column A or B, But instead state the amount in
     the space Below.
                                                                                                                               $0               $0
     Unemployment compensation claimed to be a benefit
     under the Social Security Act.                              Debtor          $0        Spouse         $0

     Income from all other sources. Specify source and amount. If necessary, list additional sources on a separate
     page. Do not include alimony or separate maintenance payments paid by your souse if Column B is
     completed, but include all other payments of alimony or separate maintenance. Do not include any benefits
10   received under the Social Security Act or payments received as a victim of a war crime, crime against humanity,
     or as a victim or international or domestic terrorism.

     a.                                                                                                    $0              $1,460               $0

     b.                                                                                                    $0

          Total and enter on Line 10.

11   Subtotal of Current Monthly Income for § 707(b)(7). Add lines 3 thru 10 in Column A, and, if Column
     B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                                             $4,262                $0

     Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11, Column
12   A to Line 11, Column B, and enter the total. If Column B has not been completed, enter the
     amount from Line 11, Column A.
                                                                                                                                      $4,262
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                                   Part III. APPLICATION OF § 707(B)(7) EXCLUSION
13   Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and enter
     the result.                                                                                                          $51,144

     Applicable median family income. Enter the median family income for the applicable state and household size.
14   (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
     a. Enter debtor's state of residence: California             b. Enter debtors household size: 4                      $74,806

     Application of Section 707(b)(7). Check the applicable box and proceed as directed.
15              The amount on line 13 is less than or equal to the amount on Line 14. Check the "Presumption does not arise"
                box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                The amount on Line 13 is more than the amount on Line 14. complete the remaining parts of this statement.




                                                   Part VIII: VERIFICATION
     I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a
     joint case, both debtors must sign.)

57
               Date: January 20, 2012                                 Signature: /s/ Ernestine B. Juhan
                                                                                 Ernestine B. Juhan
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In re: Ernestine B. Juhan




                            DECLARATION CONCERNING DEBTOR'S SCHEDULES



                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules,
consisting of    16     sheets, and that they are true and correct to the best of my knowledge,
information and belief.



Date: January 20, 2012                                      /s/ Ernestine B. Juhan
                                                            Ernestine B. Juhan




                                           Oath to Schedules
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                                       UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA

In re:   Ernestine B. Juhan                                                                                      Case No.


                                      STATEMENT OF FINANCIAL AFFAIRS
    This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on
which the information for both spouses is combined. If the case is filed under Chapter 13, a married debtor must
furnish information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-
employed professional, should provide the information requested on this statement concerning all such activities as
well as the individual's personal affairs. Do not include the name or address of a minor child in this statement.
Indicate payments, transfers and the like to mind children by stating "a minor child." 11USC § 112.

   Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below,
also must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with
the case name, case number (if known), and the number of the question.


                                                     DEFINITIONS
   "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within two years immediately
preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner
of 5 percent or more of the voting or equity securities of a corporation, a partner, other than a lim ited partner, of a
partnership; a sole proprietor or self-employed [ful-time or part-time]. An individual debtor also is [may be] "in
business" for the purpose of this form if the debtor engages in a trad, business, or other activity, other that as an
employee to supplement income from the debtor's primary employment.

  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any
person in control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any
managing agent of the debtor. 11 U.S.C. §101.




          1. Income from employment or operation of business
           State the gross amount of income the debtor has received from employment, trade or profession or from
  None     operation of the debtor's business from the beginning of this calendar year to the date this case was
           commenced. State also the gross amounts received during the two years im m ediately preceding this
           calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal
           rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
           the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married
           debtors filing under Chapter 12 or Chapter 13 must state income of both spouses whether or not a joint
           petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                  Source                                                           Amount

           Income from            Employment              Business2 012 YTD est........             $3,000

           Income from            Employment              Business2 011 ........................    $33,000

           Income from            Employment              Business2 010 .....................       $32,510




                                              Statement of Financial Affairs
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       2. Income other than from employment or business.
None   State the amount of income received by the debtor other than from employment, trade, profession, or
       operation of the debtor`s business during the two years immediately preceding the commencement of
       this case. Give particulars. If a joint petition is filed, state income for each spouse separately.
       (Married debtors filing under Chapter 12 of Chapter 13 must state income for each spouse whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                             Amount                                                  Source

                      $1,460                    per month                     children’s benefits




       3. Payments to creditors.          (Complete a or b, as appropriate, and c.)

None   a. Individual or joint debtor(s) with primarily consum e debts. List all payments on loans, installment
       purchases of goods or services, and other debts, aggregating more than $600 to any creditor, [except
       for a debt on an account of a domestic support obligation,] made within 90 days immediately preceding
       the com m encem ent of this case. Indicate with and* any payments that were made to the creditor on
       account of a domestic support obligation or as part of an alternative repayment schedule under a plan
       by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under
       Chapter 12 or Chapter 13 must include payments by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

          Name and Address of Creditor              Dates of Payment         Amount Paid         Amount Owing

                                                  Last 90 Days


None   b. Debtor whose debts are not prim arily consum er debts: List all payments or other transfers to any
       creditor made within 90 days immediately preceding the commencement of the case unless the aggregate
       value of all property that constitutes or is affected by such transfer is less than $5,475. If the debtor is
       an individual, indicate with an asterisk(*) any payments that were made to a creditor on account of a
       domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
       nonprofit budgeting and credit counseling agency. (Married debtors filing under Chapter 12 or Chapter
       13 m ust include payments by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

          Name and Address of Creditor              Dates of Payment         Amount Paid         Amount Owing




None   c. All Debtors: List all payments made within one year immediately preceding the commencement of this
       case to or for the benefit of creditors who are or were insiders. (Married debtors filing under Chapter 12
       or Chapter 13 must include paym ents by either or both spouses whether or not a joint petition if filed,
       unless the spouses are separated and a joint petition is not filed.)

          Name and Address of Creditor             Dates of Payment          Amount Paid         Amount Owing




                                        Statement of Financial Affairs
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       4. Suits , administrative proceedings, executions, garnishments & attachments.
None   a. List all suits to which the debtor is or was a party within one year immediately preceding the filing of
       this case. (Married debtors filing under Chapter 12 or Chapter 13 must include information concerning
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

         Caption of Suit and        Nature of proceeding        Court or Agency and          Status or Disposition
           Case Number                                                Location




None   b. Describe all property that has been attached, garnished or seized under any legal or equitable
       process within one year immediately preceding the commencement of this case. (Married debtors filing
       under Chapter 12 or Chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         Caption of Suit and        Nature of proceeding        Court or Agency and          Status or Disposition
           Case Number                                                Location




       5. Repossessions, foreclosures and returns.
None   List all property that has been repossessed by a creditor, sold at foreclosure sale, transferred through
       a deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the
       commencement of this case. (Married debtors filing under Chapter 12 or Chapter 13 must include
       information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

        Name and Address of Creditor             Date of Repossession,                Description and Value of
                 or Seller                    Foreclosure Sale, Transfer or                   Property
                                                         Return




       6. Assignments and receiverships.
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately
       preceding the commencement of this case. (Married debtors filing under Chapter 12 or Chapter 13 must
       include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

       Name and Address of Assignee                Date of Assignment                 Terms of Assignment or
                                                                                            Settlement




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None   b. List all property which has been in the hands of a custodian, receiver, or court appointed official
       within one year immediately preceding the commencement of this case. (Married debtors filing under
       Chapter 12 or Chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed unless the spouses are separated and a joint petition is not filed.)

       Name and Address of         Name and Location of             Date of Order             Description and Value
           Custodian                       Court,                                                  of Property
                                     Title & Number




       7. Gifts.
None   List all gifts or charitable contributions made within one year immediately preceding the commencement
       of this case except ordinary and usual gifts to family members aggregating less than $200 in value per
       individual family member and charitable contributions aggregating less than $100 per recipient. (Married
       debtors filing under Chapter 12 or Chapter 13 must include gifts or contributions by either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)

       Name and Address of         Relationship to Debtor,           Date of Gift             Description and Value
             Person                         if any                                                    of Gift
         or Organization




       8. Losses.
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
       commencement of this case or since the commencement of this case. (Married debtors filing under Chapter
       12 or Chapter 13 must include losses by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)

           Description and Value of         Description of Circumstances and, if Loss was             Date of Loss
                   Property                  Covered in whole or in part by Insurance.
                                                           Give particulars




       9. Payments related to debt counseling or bankruptcy.
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including
       attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation
       of a petition in bankruptcy within one year immediately preceding the commencement of this case. (See
       Disclosure of Compensation for payments made to attorney of record , R. Creig Greaves)

        Name and Address of Payee              Date of Payment, Name of                  Amount of Money or
                                               payor if other than Debtor               Description and Value of
                                                                                                Property

       R. Creig Greaves                     To     be   paid in m o n thly          to be paid a total of
                                            installments after filing.              $ 1,500.00




                                         Statement of Financial Affairs
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       10. Other transfers.
None   a. List all other property, other than property transferred in the ordinary course of the business or financial
       affairs of the debtor, transferred either absolutely or as security within two years immediately preceding
       the commencement of this case. (Married debtors filing under Chapter 12 or Chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)

         Name and Address of Transferee,                    Date              Describe Property Transferred and
             Relationship to Debtor                                                    Value Received




None   b. List all property transferred by debtor within ten years immediately preceding the commencement of
       this case to a self-settled trust or similar device of which the debtor is a beneficiary.

         Name and Address of Transferee,                  Date(s)            Amount of Money or Description and
             Relationship to Debtor                    of Transfer(s)        Value of Property or Debtor's Interest
                                                                                          in Property




       11. Closed financial accounts.
None   List all financial accounts and instruments held in the name of debtor or for the benefit of the debtor which
       were closed, sold, or otherwise transferred within one year immediately preceding the commencement
       of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other
       instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives,
       associations, brokerage houses and other financial institutions. (Married debtors filing under Chapter 12
       or Chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)

       Name and Address of Institution        Type and Number of Account             Amount and Date of Sale or
                                              and Amount of Final Balance                    Closing




       12. Safe deposit boxes.
None   List each safe deposit or other box or depository in which the debtor has or had securities, case, or other
       valuables within one year immediately preceding the commencement of this case. (Married debtors filing
       under Chapter 12 or Chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       Name and Address of          Names and Addresses of              Description of          Date of Transfer or
          Bank or Other            those with Access to Box or            Contents               Surrender, if any
           Depository                      Depository




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       13. Setoffs.
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
       days preceding the commencement of this case. (Married debtors filing under Chapter 12 or Chapter 13
       must include information concerning either or both spouses whether or not a joint petition is filed unless
       the spouses are separated and a joint petition is not filed.)

          Name and Address of Creditor                  Date of Setoff                    Amount of Setoff




       14. Property held for another person.
None
       List all property owned by another person that the debtor holds or controls.

        Name and Address of Owner              Description and Value of               Location of Property
                                                       Property




       15. Prior address of debtor.
None   If the debtor has moved within the three years immediately preceding the commencement of this case,
       list all premises which the debtor occupied during that period and vacated prior to the commencement
       of this case. If a joint petition is filed, report also any separate address of either spouse.


                   Address                            Name used                       Dates of Occupancy

       Address on this petition             Debtor(s) name on petition         11 years




       16. Spouses and Former Spouses.
None   If the debtor resides or resided in a community property state, commonwealth, or territory, (including
       Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
       Wisconsin) within the eight-year period im m ediately preceding the commencement of the case, identify
       the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the
       community property state.

                                         Name of Spouse or Former Spouse

       Name of non filing spouse, if any:    Herman J. Juhan = separated

       Name of prior spouse, if any:




                                        Statement of Financial Affairs
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         17. Environmental Information.
For the purpose of this question, the following definitions apply:
"Environm ental Law" means any federal, state or local statute or regulation regulating pollution, contamination,
releases of hazardous or toxic substances, wastes or material into the air, land, soil surface water, groundwater,
or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
wastes, or material.
"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently
or formerly owned or operated by the debtor, including, but not limited to disposal sites.
"Hazardous M aterial" means anything defined as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None     a. List the name and address of every site for which the debtor has received notice in writing by a
         governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
         Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:

             Site Name and              Name and Address of             Date of Notice         Environmental Law
                 Address                 Governmental Unit




None     b. List the name and address of every site for which the debtor provided notice to a governmental unit
         of a release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the
         date of the notice.

             Site Name and              Name and Address of             Date of Notice         Environmental Law
                 Address                 Governmental Unit




None     c. List all judicial or administrative proceedings, including settlements or orders, under any
         Environmental Law with respect to which the debtor is or was a party. Indicate the name and address
         of the governmental unit that is or was a party to the proceeding, and the docket number.

            Name and Address of              Docket Number                       Status or Disposition.
             Governmental Unit




                                          Statement of Financial Affairs
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           18. Nature, location and name of business.
 None      a. If the debtor Is an individual, list the names and addresses taxpayer identification numbers, nature of
           the businesses and beginning and ending dates of all businesses in which the debtor was an officer,
           director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
           self employed in a trade, profession, or other activity either full or part-time within the six years immediately
           preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting
           or equity securities within the six years immediately preceding the commencement of this case.
           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
           business, and beginning and ending dates of all businesses in which the debtor was a partner or owned
           5 percent or m ore of the voting or equity securities, within the six years immediately preceding the
           commencement of this case.
           If the debtor is a corporation, list the names addresses, taxpayer identification numbers, nature of the
           businesses, and beginning and ending dates of all businesses in which the debtor was a partner or
           owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
           commencement of this case.

                Name            4 Digits of Social           Address                   Nature of          Beginning and
                                 Security or full                                      Business          Ending Dates of
                                  Taxpayer ID.                                                              Operation




 None      b. Identify any business listed in response to the subdivision a. above, that is "single asset real estate"
           as defined in 11U.S.C. § 101.

                         Name                                                       Address




(If completed by an individual or individual and spouse)
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
and any attachments thereto and that they are true and correct.


Date: January 20, 2012                                     /s/ Ernestine B. Juhan
                                                           Ernestine B. Juhan



Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§152 and§ 3571




                                              Statement of Financial Affairs
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                                                               UNITED STATES BANKRUPTCY COURT
                                                               SOUTHERN DISTRICT OF CALIFORNIA
In Re: Ernestine B. Juhan
                                                                                                                                 Bankruptcy No:


                                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. §329(a) and Federal Rule of Bankruptcy Procedure 2016(b), I certify that I am the attorney for the
above named debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or
agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept. . . . . . . . . . . . . . . . .                        $1,500.00

          Prior to the filing of this statement I have received. . . . . . . . . . . .                             $0.00

          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       $1,500.00

2.        The source of the compensation paid to me was: Debtor(s)

3.        The source of compensation to be paid to me is: Debtor(s)

4.               I have not agreed to share the above-disclosed compensation with any other person unless they are members
          and associates of my law firm.

                  I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
          compensation is attached.

5.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
          including:

          a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determ ining whether to file a
          petition in bankruptcy;

          b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

          c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof.

          d. Other: Negotiation with secured creditor(s) in any reaffirmation agreements.



6.        By agreement with the debtor(s), the above-disclosed fee does not include the following services:
          Representation of debtor(s) in any adversary proceedings or other contested bankruptcy matter.


                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
 representation of the debtor(s) in this bankruptcy proceeding.



 Dated:      January 20, 2012                                                                /s/ R. Creig Greaves
                                                                                             R. Creig Greaves (071035)
                                                                                             Attorney for Debtor(s)
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                                        UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA

In re:    Ernestine B. Juhan                                                                                    Case No.



                               CHAPTER 7 INDIVIDUAL DEBTORS STATEMENT OF INTENTION

(Check each applicable box)
             I have filed a schedule of assets and liabilities which includes consumer debts secured by property
             of the estate.
             I have filed a schedule of executory contracts and unexpired leases which includes personal
             property subject to an unexpired lease.
             I intend to take the following action with respect to the property of the estate which secures those
             debts or is subject to a lease:

Secured Property

     Description of Secured             Creditor's Name               Property will   Property will be        Debt will be
            Property                                                       be           Redeemed               reaffirmed
                                                                      Surrendered      11 USC § 722         11 USC §524(c)

           Residence                 Bank of America, Wells                                                       X
                                    Fargo and CA Dept of VA




Leased Property

     Description of Leased              Lessor's Name                 Property will      Lease will be
           Property                                                        be         assumed 11 USC §
                                                                      Surrendered        362(b)(1)(A).




Dated: January 20, 2012                                   /s/ Ernestine B. Juhan
                                                          Ernestine B. Juhan
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B 201 (10/05)

                       UNITED STATES BANKRUPTCY COURT
             NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                           OF THE BANKRUPTCY CODE
               In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the
        services available from credit counseling services; (2) Describes briefly the purposes, benefits and
        costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about
        bankruptcy crimes and notifies you that the Attorney General may examine all information you supply
        in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
        not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and
        responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing.
The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies.

         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median
income for your state of residence and family size, in some cases, creditors have the right to file a motion requesting
that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.
         2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds
to pay your creditors.
         3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
         4. Even if you receive a general discharge, some particular debts are not discharged under the law.
Therefore, you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable
taxes; domestic support and property settlement obligations; most fines, penalties, forfeitures, and criminal
restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death
or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs.
Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.
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        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $46
administrative fee: Total fee $281)
        1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in instalments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.

         2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that
you owe them, using your future earnings. The period allowed by the court to repay your debts may be three years
or five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
         3. After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1,046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both.
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

                                Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                    (Not applicable - deleted. Preparer is an attorney.)



                                                  Certificate of the Debtor
                       I (We), the debtor(s), affirm that I (we) have received and read this notice.




Date: January 20, 2012                                           /s/ Ernestine B. Juhan
                                                                 Ernestine B. Juhan
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 R. Creig Greaves (Bar #071035)
 Attorney at Law
 110 West "C" St., #2101
 San Diego, CA 92101
 (619) 234-0033

                UNITED STATES BANKRUPTCY COURT
             SOUTHERN DISTRICT OF CALIFORNIA
            325 West “F” Street, San Diego, CA 92101

 Ernestine B. Juhan                                                     Bankruptcy No:




                                     VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

        New petition filed concurrently with this original matrix.

        Conversion filed on                    . See Instructions on reverse side.
             Previous matrix affected filed on
             Case filed after JANUARY 1, 1985, and there are no post-petition creditors. No matrix
             required.

      Amendment filed concurrently with this original matrix affecting Schedule of debts and/or schedule
   of Equity Security Holders.
   See instructions on reverse side.
                Names and addresses are being ADDED.
                Names and addresses are being DELETED.
                Names and addresses are being CORRECTED.

      Matrix revised because
    Previous matrix affected filed on

PART II. (check one):

        The above-named Debtor(s) hereby verifies that the attached list of creditors is true and correct
        to the best of my (our) knowledge.

        The above-named Debtor(s) hereby verifies that there are no post-petition creditor affected by the
        filing of the conversion of this case and that the filing of a matrix is not required.


Date:    January 20, 2012                                /s/ Ernestine B. Juhan
                                                         Ernestine B. Juhan
